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Scope of Review Summary
Timelines for documents and instructions received

I received the documents and instructions on 5/24/2022 after signing the Non-Disclosure Agreement
and confirmed my access to the NDR systems on same day.

 Date         Description                                                     Comments / Received
                                                                              from
 5/23/2022 Signed a Non-Disclosure Agreement for the project.                 Provided by hiring
                                                                              Agency
 5/24/2022 Received “Court Transcript Part 1” and “Court Transcript Part      Allyn & Fortuna LLP
           2”, zipped and in PDF format.

 5/24/2022 Received Court Order Re- Independent Expert in PDF format.         Allyn & Fortuna LLP

 5/24/2022 Received three declarations: (1) “Saul Declaration”, (2)           Allyn & Fortuna LLP
           “Delorge Declaration-Final”, and (3) “Delorge Reply
           Declaration_signed” in PDF format.

 5/24/2022 Received instructions and credentials to login to the NDR          Allyn & Fortuna LLP
           systems with full administrative access.                           forwarded instructions
                                                                              from David Delorge.

 5/24/2022 Received user account and password to login to the NDR             Allyn & Fortuna LLP
           systems.                                                           forwarded my login
                                                                              credentials from
                                                                              Thomas Concannon.

 5/26/2022 Received email requesting that I also perform an eDiscovery        Allyn & Fortuna LLP
           of communications between Thomas Concannon, David
           Delorge and Ryan Saul as indicated in item 16 “scope of
           review”.

 6/1/2022     Received “Order Re_Scope of Review” and “Order Appointing       Allyn & Fortuna LLP
              Independent Expert” in PDF format with instructions in same
              email to expand date for item 18 in “scope of review” to
              February 15, 2022.

 6/6/2022     Received confirmation for credentials to login to the Virtual   Allyn & Fortuna LLP
              Machine.                                                        requested assistance
                                                                              from David Delorge.

                                                                              David Delorge sent
                                                                              email with login


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                                                                              information needed to
                                                                              access Virtual Machine.



Timelines for documentation and system review

 Date         Description                                                     Comments / Hours
                                                                              worked
 6/1/2022     Reviewed the three Declarations: (1) “Saul Declaration”, (2)    2 hours organizing and
              “Delorge Declaration-Final”, and (3) “Delorge Reply             reviewing documents
              Declaration_signed”

 6/2/2022     Reviewed Court Transcripts Part 1 and Part 2.                   2 hours spent on
              Reviewed Court Order Re- Independent Expert.                    reviewing the transcripts


 6/3/2022     Create a planning sheet to help me with the review              1 hour working on my
                                                                              plan for review

 6/4/2022     Started review of Office 365 tenant, Azure DevOPS repository    8 hours on Saturday
              and Azure subscription                                          reviewing and
                                                                              documenting findings.

 6/5/2022     Continued review of Office 365 tenant, Azure DevOPS             6 hours on Sunday
              repository and Azure subscription. I was not able to login to   reviewing and
              the Virtual Machine to complete review.                         documenting findings.

 6/6/2022     Continued review of Office 365 tenant, Azure DevOPS             4 hours on Monday
              repository and Azure subscription and Virtual Machine.          reviewing and
                                                                              documenting findings.
              Instructions provided and was able to login to the Virtual
              Machine.
 67/2022      Updated final DRAFT to include timelines for documents          1 hours on final draft
              received, adjust date for item 18 to February 15, 2022, and
              correct spelling.




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The scope of review itemized below was obtained from the final “Order Re-Scope of Review” instruction
PDF provided by Allyn & Fortuna LLP via emails.



 Ref    Scope of Review
 No


  1     Review, assess and describe the security measures in place for logging into NDRs Microsoft Azure
        Account.

  2     Assess and determine to the extent possible whether Ryan Saul downloaded source code from NDR's
        Azure DevOPS repository

  3     Review, assess and report on the files and branches that exists in NDR's Azure DEVOPS repository and/or
        were created between September 26,2021 and January 18,2022 including but not limited a branch
        called "Net Roadshow" or "Net Road Show"

  4     Review the virtual machine assigned to Ryan Saul and assess whether code was deployed from the
        virtual machine. As part of the review of the virtual machine, assess login and activity records from the
        virtual machine.

  5     Review, assess and report on whether Ryan Saul saved all code developed between September 26,2021
        and January 18,2022 in the Azure DevOPS repository.

  6     Review, assess, and report on whether the decompiled code that is currently in NDR's repository is
        representative of the deployed code reflected on the deal table website.

  7     Review, assess, and report as to the last date decompiled source code was committed to any branch on
        NDRs Azure DEVOPS repository including but not limited to branches called "Net Road Show" and "Ryan
        Development"

  8     Review and assess the deployment logs between September 26,2021 and January 18,2022 and compare
        them to the deployment logs with deployments made by Ryan Saul prior to September 26,2021 and
        report on any differences as to from where the deployments originated. To the extent possible,
        determine whether the deployments were made from Microsoft Visual Studio or a GitHub or other
        third-party repository.


  9     Review, assess and report on whether Ryan Saul deployed all code deployed between September
        26,2021 and January 18,2022 from Azure DevOPS repository

  10    Review, assess, and report on whether changes made to the code between September 26,2021 and
        January 18,2022 were made from the Azure DevOPS repository.



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  11    Review, assess, and report on whether any decompiled code from between September 26,2021 and
        January 18,2022 is saved into NDRs Azure DevOPS repository

  12    Review, assess, and report on whether any decompiled code from between September 26,2021 and
        January 18,2022 was saved into NDRs Azure DevOPS repository but at some point, deleted?

  13    Review the activity from January 18,2022 and, to the extent possible, assess and report on whether the
        NDR website, certificate, database, and connectivity were deleted, what caused the deletion, from
        where the deletion was initiated, and who initiated the deletion.

  14    Review the login activity of January 18,2022 to determine the machines used by Ryan Saul to access
        NDR's system, the manner and from where Ryan Saul was attempting to access NDR's system, the
        locations, and IP addresses from where attempts were being made to access NDR's system.



  15    Review and assess the GUID program installed on Ryan Saul’s virtual machine and report on what
        purpose the GUID program serves if code is being deployed directly from NDR's Azure DevOPS
        repository.

  16    Review, assess, and report on the time, frequency and participants involved in MS teams daily scrub
        meetings held between September 26,2021 and January 18,2022.

  17    Review, assess and report on any other information and records the independent expert deems
        pertinent.

  18    Review and report all the users to the NDRs Microsoft Azure account from September 26,2021 through
        February 15,2022, including a description of security level, permissions, and access but without
        disclosing information that would compromise the security of NDR's Microsoft Azure Account.




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Scope of Review Details
 Ref   Description | Reference Link | Screen Print
 No
 1     Review, assess and describe the security measures in place for logging into NDRs Microsoft
       Azure Account.

 1.1   Reviewers Comments

       1. NDA follows Microsoft recommended best practices and enforces Multi-Factor
          Authentication (MFA) logins by using Azure Active Directory Premium Conditional Access
          Policies.

       2. Another user, including NDR admins, would require the developer user account, user
          account password and would need to have access to their MFA device (mobile phone) to be
          able to login as that user.

       Reviewer Summary

       1. I have assessed from the controls in place that a breach of this developer account was
          highly unlikely and only the developer could have used their account to login to systems.

 1.2   Microsoft References

       1. https://www.microsoft.com/security/blog/2019/08/20/one-simple-action-you-can-take-to-
          prevent-99-9-percent-of-account-attacks/
       2. https://docs.microsoft.com/en-us/azure/active-directory/authentication/concept-
          authentication-phone-options

 1.3   Login validation using my assigned login and MFA to demonstrate




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       My account can use either Authenticator or mobile phone for MFA




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       Without my phone or access to text messages or Authenticator I would not be able to login.




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 2     Assess and determine to the extent possible whether Ryan Saul downloaded source code from
       NDR's Azure DevOPS repository.
 2.1   Reviewers Comments

       1. Developers generally must download source code from the repository to the local PC to
          make changes and then typically check the source code back into the code repository once
          they have completed testing on their local developer PC.
       2. In many cases, including this project the developer(s) had created several branches from
          the “main” code repository which aligns with developer best practices.
       3. There is no restriction preventing the code from being downloaded to any PC provided that
          the user account who downloads the code is authorized and connects to the Azure DevOPS
          repository using their credentials and MFA to access the code.

       Reviewer Summary

       1. I have assessed that Ryan Saul must have downloaded the code to a PC to make changes
          and complete builds for the web site between period 9/26/2021 and 1/18/2022.

 2.2   Stale Branch Reference / code branching

       1. https://en.wikipedia.org/wiki/Branching_(version_control)



 3     Review, assess and report on the files and branches that exists in NDR's Azure DEVOPS
       repository and/or were created between September 26,2021 and January 18,2022 including
       but not limited a branch called "Net Roadshow" or "Net Road Show"

 3.1   Reviewers Comments

       1. There is a master repository and 13 branches in the NDR-2021 source repository
       2. There were no code commits to any branches in Azure DevOPS including branches "Net
          Roadshow" or "Net Road Show" any time between 9/26/2021 and 1/18/2022.

       Reviewer Summary

       1. I have assessed that Ryan Saul did not commit any code changes made between 9/26/2021
          and 1/18/2022 to any branch in NDRs Azure DevOPS repositories.

 3.2   Screen prints from the Azure DevOPS repository showing master and all branches for the code.




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 4     Review the virtual machine assigned to Ryan Saul and assess whether code was deployed
       from the virtual machine. As part of the review of the virtual machine, assess login and
       activity records from the virtual machine.
 4.1   Reviewers Comments

       1. I found a folder on the virtual machine called code\new\NDR-2-21\DealTable which had a
          codebase last modified on 1/18/2021 (seems to be a very old codebase)
       2. I also confirmed that the c:\users\ndradmin\source\repos was empty.
       3. The code located on the Virtual machine is very outdated.

       Reviewer Summary

       1. It is my assessment that that code was not deployed from this Virtual Machine to the deal
          table web site between 9/26/2021 and 1/18/2022.

 4.2   Screen print from Virtual Machine showing old code from 1/18/2021




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 4.3   Screen print from Virtual Machine showing no code in the local PC source folder




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 5     Review, assess and report on whether Ryan Saul saved all code developed between
       September 26,2021 and January 18,2022 in the Azure DevOPS repository.
 5.1   Reviewers Comments

       1. Change logs track all changes, including new commits, made to an Azure DevOPS repository
          for audit and compliance.
       2. Ryan Saul committed last updates to Azure DevOPS were on 9/26/21 at 9.32 am based on
          Azure DevOPS tracking logs.

       Reviewer Summary

       1. It is my assessment that that no code was saved to the Azure DevOPS repository between
          9/26/2021 and 1/18/2022.




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 5.2   Screen prints from the Azure DevOPS repository.




 6     Review, assess, and report on whether the decompiled code that is currently in NDR's
       repository is representative of the deployed code reflected on the deal table website.
 6.1   Reviewers Comments

       1. The code deployed to the NDR developer deal table web site does not match the NDR-2021
          main branch or any branch in the NDR’s repository.
       2. The last build on the web site was 1/13/2022 and the code last updated in the NDR’s
          repository was recorded as 9/26/2021.

       Reviewer Summary

       1. It is my assessment that that the code in NDR’s repository is outdated and not reflective of
          the runtime code on the deal table web site.

 6.2   Screen print of code runtime components on web site, sorted by the last updated date to the
       web server.




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       Based on logs the last Azure DevOPS repository code updates were on 9/26/2021 and the last
       web site build shows runtime objects were created by a build on 1/13/2022.




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 7     Review, assess, and report as to the last date decompiled source code was committed to any
       branch on NDRs Azure DEVOPS repository including but not limited to branches called "Net
       Road Show" and "Ryan Development"
 7.1   Reviewers Comments

       1. The last build on the web site shows a build date of 1/13/2022 and the Azure repository
          shows last code was uploaded to NDRs Azure DEVOPS repository on 9/26/2021
       2. I checked all the code repositories and branches to validate that there were no code
          updates made to any of the NDRs Azure DEVOPS repositories by anyone between
          9/26/2021 and 1/18/2022.

       Reviewer Summary

       1. It is my assessment that no code was committed to any braches in NDRs Azure DEVOPS
          repository between 9/26/2021 and 1/18/2022.



 8     Review and assess the deployment logs between September 26,2021 and January 18,2022
       and compare them to the deployment logs with deployments made by Ryan Saul prior to
       September 26,2021 and report on any differences as to from where the deployments
       originated. To the extent possible, determine whether the deployments were made from
       Microsoft Visual Studio or a GitHub or other third-party repository.
 8.1   Reviewers Comments

       1. The last build on the web site was 1/13/2022 and the Azure repository shows last updated
          as of 9/26/2021
       2. There are no logs available in Azure to show where other deployments were made from.
       3. Azure application deployment logs are kept for 90 days and then recycled.


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       4. Azure sign-in and Audit Logs are kept for 30 days and then recycled.

       Reviewer Summary

       1. I am not able to review or provide an assessment on this information since Azure sign-in /
          Audit Logs and the Azure application logs are no longer accessible.

 8.2   Azure Application log retention is 90 days




 8.3   Azure Sign-In and Audit log retention is 30 days




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 9     Review, assess and report on whether Ryan Saul deployed all code deployed between
       September 26,2021 and January 18,2022 from Azure DevOPS repository
 9.1   Reviewers Comments

       1. Code in the Azure DevOPS repository is not the latest code, it was last updated on
          9/26/2021.
       2. There are missing code updates in the Azure DevOPS repository which indicate code was
          likely deployed from another source.

       Reviewer Summary

       1. It is my assessment that no deployments were made to the Azure web server from the
          Azure DevOPS repository between 9/26/2021 and 1/18/2022.

 9.2   Based on logs the last repo updates checked-in were on 9/26/2021 and last deployment was
       1/13/2022




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 10   Review, assess, and report on whether changes made to the code between September
      26,2021 and January 18,2022 were made from the Azure DevOPS repository.
 10.1 Reviewers Comments



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       1. Code in the Azure DevOPS repository was last updated 9/26/2021.
       2. The code changes made between 9/26/2021 and 1/18/2022 are not in the Azure DevOPS
          repository.

       Reviewer Summary

       1. It is my assessment that code changes were not made from the Azure DevOPS repository
          since it does not contain the latest code version.



 11   Review, assess, and report on whether any decompiled code from between September
      26,2021 and January 18,2022 is saved into NDRs Azure DevOPS repository
 11.1 Reviewers Comments

       1. No decompiled code was saved to the Azure DevOPS repository after 9/26/2021

       Reviewer Summary

       1. It is my assessment there were no decompiled source commits made to the Azure DevOPS
          repository after 9/26/2021.



 12   Review, assess, and report on whether any decompiled code from between September
      26,2021 and January 18,2022 was saved into NDRs Azure DevOPS repository but at some
      point, deleted?
 12.1 Reviewers Comments

       1. Azure DevOPS repository shows no deletions were made from NDRs Azure DevOPS
          repository.
       2. The repository logs cannot be altered.

       Reviewer Summary

       1. I have assessed that there were no deletes made in the NDRs Azure DevOPS repositories.

 12.2 Screen print from Azure DevOPS shows no deletes or activity after 9/26/2022




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 13   Review the activity from January 18,2022 and, to the extent possible, assess and report on
      whether the NDR website, certificate, database, and connectivity were deleted, what caused
      the deletion, from where the deletion was initiated, and who initiated the deletion.
 13.1 Reviewers Comments

       1. There are no logs available to show if deletions were made to Web Site, certificates, or
          database.
       2. Azure Event and Sign-In logs are kept for 30 days and then recycled.

       Reviewer Summary

       1. I am not able to determine if these deletions were made, logs are only available for 30 days
          and have been recylced .



 14   Review the login activity of January 18,2022 to determine the machines used by Ryan Saul to
      access NDR's system, the manner and from where Ryan Saul was attempting to access NDR's
      system, the locations, and IP addresses from where attempts were being made to access
      NDR's system.
 14.1 Reviewers Comments

       1. There are no logs available to show sign-in information for Ryan Saul.
       2. Azure Event and Sign-In logs are kept for 30 days and then recycled.

       Reviewer Summary

       1. I am not able to determine if sign-in attempts were made to access the system, logs are
          only available for 30 days and have been recylced .



 15   Review and assess the GUID program installed on Ryan Saul’s virtual machine and report on
      what purpose the GUID program serves if code is being deployed directly from NDR's Azure
      DevOPS repository.
 15.2 Reviewers Comments

       1.   I was able to connect to the Virtual Machine and list out all the installations.
       2.   Visual Studio was installed as expected.
       3.   Git was also installed to the Virtual Machine but is not needed.
       4.   Visual Studio support s multiple deployment methods and developers can configure and
            use any of these methods within Visual Studio.


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       Reviewer Summary

       1. It is my assessment that even although Git was installed on this Virtual Machine it was not
          used to download / upload a copy of the source code. Visual Studio can be used to pull
          down and deploy code directly to the web site.

 15.2 Screen print of Visual Studio Installation




 15.3 Screen print of Git Installation




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 15.4 Screen print of Visual Studio publish methods.




 16    Review, assess, and report on the time, frequency and participants involved in MS teams
       daily scrub meetings held between September 26,2021 and January 18,2022.

 16.1 Reviewers Comments

       1. Communications for this team seem to have been informal and not consistent.
       2. Mostly communications were directly between Ryan and Thomas Concanon
       3. There were no requests to meet that were ignored by either party.

       Reviewer Summary



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        1. I have assessed that regular meetings or agile scrums did not occur on this project and all
           communications were based on the required updates and status of the updates.

 16.2 Email communications found using Microsoft compliance search




 16.3




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 16.4




 17     Review, assess and report on any other information and records the independent expert
        deems pertinent.
        Reviewers Comments

        1. Some Azure logs are not available, so I am not able to independently verify some of the user
           level transactions during for period 9-26-2021 through 1-18-2022 so I have opted out of
           those assessments which include scope of review items (8), (13) and (14).
        2. I have reviewed the court transcripts and signed declarations of both parties.
        3. I have reviewed screen prints and statements made by both parties
        4. I have identified that screen prints provided by NDR look authentic and are accepted by the
           courts as evidence.
        5. I do not know or support any party in this case and an independent expert.
        6. I have not received direction or communicated with any party during this review outside of
           the approved Order Re-Scope of Review.
        7. I believe my assessments to be accurate based on my over 35 years of working as a
           consultant, developer, and security architect in this industry.



 18   Review and report all the users to the NDRs Microsoft Azure account from September
      26,2021 through February 15,2022, including a description of security level, permissions, and
      access but without disclosing information that would compromise the security of NDR's
      Microsoft Azure Account.
 18.1 Reviewers Comments

        1. There are 24 Azure login accounts, at least 10 are service accounts
        2. Azure Event and Sign-In logs are kept for 30 days and then recycled.
        3. Account delegations and roles follow best practices


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        Reviewer Summary

        1. There are no permissions assigned to accounts in Office 365 or Azure that would allow a
           resource or user individual account to be breached without knowledge or consent of the
           key stakeholders.

 18.2




 18.2 One Global Admin assigned




 18.2 Subscription Owners limited to service accounts and key stakeholders only




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